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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO


  Civil Case No. 21-2681

  JENNIFER VINCENZETTI and those similarly situated;

         Plaintiffs,
  v.

  AMAZON.COM SERVICES LLC;

         Defendant.


                                 CLASS ACTION COMPLAINT


                                   JURISDICTION AND VENUE

  1.     This Court has jurisdiction over this matter pursuant to the Class Action Fairness Act, 28

  U.S.C. § 1332(d).

  2.     There is “minimal diversity” because Defendant is a foreign business entity and a

  substantial portion of the proposed class, including Plaintiff, are Colorado residents.

  3.     Within the applicable statute of limitations, Defendant had thousands, and likely well

  over 10,000, employees in Colorado subject to Defendant’s alleged off-the-clock pay policies.

  4.     Class-wide damages for the thousands of employees is well in excess of $5 million.

  5.     Venue is proper pursuant to 28 U.S.C. § 1391 because a substantial part of the events or

  omissions giving rise to the claims occurred in Colorado.

                                              PARTIES

  6.     At all times material to the allegations of the complaint, Plaintiff was domiciled in the

  District of Colorado.
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  7.      At all times material to the allegations of the complaint, Defendant AMAZON.COM

  SERVICES LLC (hereinafter, “Amazon”) was a Delaware limited liability company with its

  principal place of business in Washington state.

  8.      At all times material to the allegations of the complaint, Amazon was registered with the

  Colorado Secretary of State to do business in Colorado and in fact did do business in Colorado.

                                     STATEMENT OF FACTS

  I.    Amazon’s Operations

  9.      Amazon operates a sprawling international online retail shopping business that allows

  customers to order goods online and have those orders fulfilled and delivered through Amazon’s

  expansive fulfillment network.

  10.     Amazon’s “fulfillment network is made up of state-of-the-art technology and a variety of

  building types and sizes to support processing orders, but it’s truly [Amazon’s] people who bring

  the magic of Amazon to life for our customers.”

  11.     Amazon operates innumerable warehouses across the United States, and the world, to

  facilitate this fulfillment.

  12.     Each of these warehouses employs hundreds, and often thousands, of hourly employees.

  13.     Some warehouses pick, pack, and ship orders for Amazon’s customers, while others sort

  already packed customer orders for faster delivery to final destinations.

  14.     Amazon currently runs at least the following warehouses in Colorado:

          #DDV5 2889 Himalaya Drive, Aurora, Colorado, 80011

          #DEN2 – 24006 E. 19th Ave., Aurora, CO 80019-3705

          #DEN3 – 14601 Grant Street Thornton CO 80023-6622


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          #DEN5 – 19799 E 36th Dr, Aurora, CO 80011

          #DCS3 – 4303 Grinnell Blvd, Colorado Springs, CO 80925

 II.    Plaintiff’s Employment by Amazon

  15.     Plaintiff worked for Amazon at two Colorado Springs warehouses from in or about

  October 2018 to in or about December 2020.

  16.     Plaintiff generally was on the clock for 4 days a week, 10 hours a day.

  17.     At all times, Plaintiff was a non-exempt hourly employee.

  18.     Plaintiff’s job consisted principally of sorting already packed packages and routing them

  for delivery.

  19.     Amazon had the power to, and in fact did, hire and fire Plaintiff and those similarly

  situated.

  20.     Amazon hired Plaintiff in 2018 and fired Plaintiff in 2020 for returning from a break late.

  21.     Amazon set the rate of pay for Plaintiff and those similarly situated.

  22.     Amazon maintained employment records for Plaintiff and those similarly situated,

  including providing a platform called “Amazon A to Z”—currently available at

  idp.amazon.work—where Amazon maintains employee work schedules, time records, and pay

  records.

  23.     Amazon set the work schedules for Plaintiff and those similarly situated, including strict

  requirements for clocking in and out on time and for avoiding overtime.

  24.     These requirements included policies that punished employees for clocking in early or

  clocking out late.




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 III.   Amazon’s Illegal Off the Clock Pay Policies

  25.    Under Colorado law, “‘time worked’ means time during which an employee is

  performing labor or services for the benefit of an employer, including all time s/he is suffered or

  permitted to work, whether or not required to do so.” See 7 C.C.R. § 1103-1(1.9).

  26.    This includes “requiring or permitting employees to be on the employer's premises, on

  duty, or at a prescribed workplace (but not merely permitting an employee completely relieved

  from duty to arrive or remain on-premises) — including but not limited to, if such tasks take over

  one minute, putting on or removing required work clothes or gear (but not a uniform worn

  outside work as well), receiving or sharing work-related information, security or safety

  screening, remaining at the place of employment awaiting a decision on job assignment or when

  to begin work, performing clean-up or other duties "off the clock," clocking or checking in or

  out, or waiting for any of the preceding — shall be considered time worked that must be

  compensated.” See 7 C.C.R. § 1103-1(1.9.1).

          A. Illegal Off the Clock Policy Prior to the Covid Pandemic

  27.    Prior to the COVID pandemic, i.e., prior to in or about March 2020, Amazon had an

  illegal policy of forcing warehouse workers to work off the clock before and after their shifts

  with no compensation.

  28.    Each day, Plaintiff would be forced to work between two to five minutes before she could

  clock in and begin getting compensated.

  29.    During this uncompensated time, she was required to get her badge and meet with a Shift

  Assistant to receive her job duties for the day.

  30.    This was the same for workers at Amazon warehouses across Colorado.


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  31.     Indeed, at some warehouses, workers would also be subjected to uncompensated security

  screenings after they clocked out.

  32.     Regardless, at all Amazon warehouses across Colorado, Amazon non-exempt employees

  were required to be on location and on duty, but off the clock for at least several minutes each

  day.

  33.     Amazon ensured Plaintiff and those similarly situated complied with this off the clock

  work policy by implementing policies that would punish employees for clocking in early or out

  late. If an employee clocked in early or out late too often, it would result in eventual termination.

  34.     This off the clock work left Plaintiff and those similarly situated unpaid for hourly

  contract wages and minimum wages.

  35.     In addition, because many employees were clocked in for 40 hours a week or just shy of

  12 hours in a day, this off the clock work often resulted in unpaid overtime, including for

  Plaintiff.

           B. Illegal Off the Clock Policy During the Covid Pandemic

  36.     During the COVID pandemic, i.e., from in or about March 2020 until now, Amazon

  maintained the illegal off the clock policy described above, but the off the clock duties required

  of Amazon’s employees increased dramatically.

  37.     In addition to the uncompensated work described above, Amazon implemented a

  company-wide policy of requiring health screenings before its employees could clock in at all

  warehouses, including Colorado Warehouses.

  38.     These health screenings led to long lines outside and inside the facilities.




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  39.     Plaintiff and those similarly situated would have to arrive early, wait in a line outside the

  facility, enter the facility and continue to wait in line, answer health screening questions and

  have their temperature checked.

  40.     Only after the lengthy line and COVID screening could Plaintiff and those similarly

  situated proceed with any other required off the clock duties and then clock in.

  41.     Sometimes the lines were shorter, in particular when there were COVID outbreaks

  leading to a substantial part of the workforce being quarantined.

  42.     But, in general, since March 2020, the lines have been very long.

  43.     These lengthy lines and the screenings themselves usually led to 20-60 minutes of time

  that Plaintiff and those similarly situated were required to work but were not compensated.

  44.     This was true at every Amazon warehouse in Colorado.

  45.     As it did prior to the COVID pandemic, Amazon ensured Plaintiff and those similarly

  situated complied with this off the clock work policy by using policies that would punish

  employees for clocking in early or out late. If an employee clocked in early or out late too often,

  it would result in eventual termination.

  46.     This off the clock work left Plaintiff and those similarly situated unpaid for hourly

  contract wages and minimum wage.

  47.     In addition, because many employees were clocked in for 40 hours a week or just shy of

  12 hours in a day, this off the clock work often resulted in unpaid overtime, including for

  Plaintiff.




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                                 RULE 23 CLASS ALLEGATIONS

  48.    Plaintiff alleges all claims as a Fed R. Civ P. 23 class action on her own behalf and on

  behalf of the class she seeks to represent.

  49.    Pending any modifications necessitated by discovery, Plaintiff preliminarily defines the

  Rule 23 Class as follows:

         ALL CURRENT AND FORMER NON-EXEMPT HOURLY EMPLOYEES
         WHO WORKED AT DEFENDANT’S WAREHOUSES IN COLORADO
         WITHIN THE STATUTE OF LIMITATIONS.

  50.    The class is so numerous that joinder of all potential class members is impracticable.

  Plaintiff does not know the exact size of the class since that information is within the control of

  Amazon. However, Plaintiff estimates that, based on the size of Amazon’s operations, the class

  is composed of well over 10,000 persons. The exact size of the class will be easily ascertainable

  from Amazon’s employment records.

  51.    There are questions of law or fact common to the class that predominate over any

  individual issues that might exist. Common questions of law and fact include: whether Plaintiff

  and those similarly situated are entitled to compensation for time spent on the job site and on

  duty prior to clocking in or after clocking out; the amount of time spent on these off the clock

  duties, the compensation due for these off the clock duties, whether these off the clock duties

  required Plaintiff and those similarly situated to work more than 40 hours in a week or 12-hours

  in a day, whether Amazon failed to keep accurate records of time worked as required by

  Colorado law, and whether Amazon’s actions were willful.

  52.    The class claims asserted by Plaintiff are typical of the claims of all the potential class

  members because they all experienced the same or similar working conditions and pay practices.


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  A class action is superior to other available methods for the fair and efficient adjudication of this

  controversy because numerous identical lawsuits alleging similar or identical causes of action

  would not serve the interests of judicial economy. This is especially true in the case of low-wage,

  hourly workers like the class members here, who are unsophisticated, are unlikely to seek legal

  representation, cannot realistically navigate the legal system pro se, and whose small claims

  make it difficult to retain legal representation if they do seek it.

  53.     Plaintiff will fairly and adequately protect and represent the interests of the class. She and

  the proposed class were all Amazon warehouse employees and were all victims of the same

  violations of law as the other class members, including numerous violations of state wage and

  hour laws.

  54.     Plaintiff is represented by counsel experienced in litigation on behalf of low-wage

  workers and in wage and hour class actions.

  55.     The prosecution of separate actions by the individual potential class members would

  create a risk of inconsistent or varying adjudications with respect to individual potential class

  members that would establish incompatible standards of conduct for Amazon.

  56.     Each class member’s claim is relatively small. Thus, the interest of potential class

  members in individually controlling the prosecution or defense of separate actions is slight. In

  addition, public policy supports the broad remedial purposes of class actions in general and that

  the pertinent state laws are appropriate vehicles to vindicate the rights of those employees with

  small claims as part of the larger class.

  57.     Plaintiff is unaware of any members of the putative class who are interested in presenting

  their claims in a separate action.


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  58.     Plaintiff is unaware of any pending litigation commenced by members of the class

  concerning the instant controversy.

  59.     It is desirable to concentrate this litigation in this forum because all parties are domiciled

  in this jurisdiction or are registered to do business in this jurisdiction. Moreover, the acts or

  omissions giving rise to the claims in this case largely, or completely, occurred in this

  jurisdiction.

  60.     This class action will not be difficult to manage due to the uniformity of claims among

  the class members and the susceptibility of wage claims to both class litigation and the use of

  representative testimony and representative documentary evidence.

  61.     The contours of the class will be easily defined by reference to the payroll documents

  Amazon was legally required to create and maintain.

             COUNT I: VIOLATION OF THE COLORADO WAGE CLAIM ACT,
                              C.R.S. §§ 8-4-101, et seq.

  62.     Plaintiff brings this claim on behalf of herself and all those similarly situated pursuant to

  Fed. R. Civ. P. 23.

  63.     At all material times, Amazon was an “employer” within the meaning of the Colorado

  Wage Claim Act, C.R.S. §§ 8-4-101, et seq.

  64.     At all material times, Amazon employed “employees,” including Plaintiff and the Rule

  23 Class, within the meaning of the Colorado Wage Claim Act, C.R.S. §§ 8-4-101, et seq.

  65.     As a result of the foregoing conduct, as alleged, Amazon failed to pay wages due thereby

  violating, and continuing to violate, the Wage Claim Act. These wages include minimum wage,

  hourly contract wages, and overtime wages.



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  66.    These violations were committed knowingly, willfully and with reckless disregard of

  applicable law, as Amazon knew it was requiring its employees to perform off the clock job

  duties and knew it was paying them nothing for these off the clock job duties.

  67.    As a result, Plaintiff has been damaged in an amount to be determined at trial. Plaintiff

  hereby demands payment on behalf of Plaintiff and all members of the Rule 23 Class in an

  amount equal to all earned but unpaid straight time and overtime compensation. This demand for

  payment is continuing and is made on behalf of any current employees of Amazon whose

  employment terminates at any time in the future. Such payment should be made in care of

  undersigned counsel at the listed address.

  68.    Plaintiff and the Rule 23 Class are therefore entitled to unpaid wages, statutory penalties,

  attorney’s fees, costs, and applicable statutory interest.

          COUNT II: VIOLATION OF THE COLORADO MINIMUM WAGE ACT,
                             C.R.S. §§ 8-6-101, et seq.

  69.    Plaintiff brings this claim on behalf of herself and all those similarly situated pursuant to

  Fed. R. Civ. P. 23.

  70.    At all material times, Amazon has been an “employer” within the meaning of the

  Colorado Minimum Wage Act.

  71.    At all material times, Amazon employed, and continues to employ, “employees,”

  including Plaintiff and the members of the Rule 23 Class, within the meaning of the Minimum

  Wage Act.

  72.    Plaintiff and the Rule 23 Class were employees of Amazon within the meaning of the

  Minimum Wage Act.



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  73.     As a result of the foregoing conduct, as alleged, Amazon has violated, and continues to

  violate, the Minimum Wage Act. These violations were committed knowingly, willfully and with

  reckless disregard of applicable law.

  74.     Specifically, Amazon knew it was requiring its employees to perform off the clock job

  duties and knew it was paying them nothing for these off the clock job duties.

  75.     As a result, Plaintiff and the Rule 23 Class have been damaged in an amount to be

  determined at trial and are entitled to unpaid wages, attorney’s fees, costs, and applicable

  statutory interest.

                                     COUNT III: CIVIL THEFT,
                                        C.R.S. § 18-4-405

  76.     Plaintiff brings this claim on behalf of herself and all those similarly situated pursuant to

  Fed. R. Civ. P. 23.

  77.     At all material times, Amazon has been an “employer” within the meaning of the

  Colorado Minimum Wage Act.

  78.     At all material times, Amazon employed, and continues to employ, “employees,”

  including Plaintiff and Rule 23 Class, within the meaning of the Minimum Wage Act.

  79.     Plaintiff and Rule 23 Class were employees of Amazon within the meaning of the

  Minimum Wage Act.

  80.     Amazon’s intentional failure to pay minimum wage under the Minimum Wage Act

  constitutes theft pursuant to C.R.S. § 18-4-401. See C.R.S. § 8-6-116.

  81.     Specifically, Amazon knew it was requiring its employees to perform off the clock job

  duties and knew it was paying them nothing for these off the clock job duties.



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  82.     As a result, Amazon’s failure to pay minimum wage constitutes civil theft pursuant to

  C.R.S. § 18-4-405.

  83.     Plaintiff and Rule 23 Class are entitled to treble damages, attorney’s fees, costs, and

  statutory interest.

                                      DEMAND FOR JURY TRIAL

  84.     Plaintiff demands a trial by jury for all issues so triable.

                                         PRAYER FOR RELIEF

  85.     Plaintiff respectfully requests an Order and Judgment from this Court:

              a.        Certifying the Rule 23 class, naming Plaintiff as representative of the class

                        Plaintiff seeks to represent, and naming Plaintiff’s counsel class counsel;

              b.        granting judgment in favor of Plaintiff and the Rule 23 Class against Amazon;

              c.        awarding Plaintiff and the Rule 23 class their actual damages and any

                        applicable statutory damages;

              d.        awarding Plaintiff and those similarly situated their costs;

              e.        awarding Plaintiff and those similarly situated their attorney’s fees;

              f.        awarding Plaintiff and those similarly situated prejudgment and post-judgment

                        interest, when allowable by law; and

              g.        granting such other relief as this Court deems just and proper.

                                                   Respectfully Submitted,

                                                   s/Alexander Hood
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                                                   David H. Seligman, CO Atty Reg. # 49394
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